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                             Exhibit 1
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                                                                                                                                             USOO6480753B1

   (12) United States Patent                                                                                       (10) Patent No.:     US 6,480,753 B1
          Calder et al.                                                                                            (45) Date of Patent:     Nov. 12, 2002

   (54) COMMUNICATIONS, PARTICULARLY IN                                                                     EP                             O817423       1/1998
            THE DOMESTC ENVIRONMENT                                                                         EP                             O869.447     10/1998
                                                                                                            WO                             97SOO45      12/1997
   (75) Inventors: Andrew Calder, Dundee (GB); Simon                                                        WO                             9856188      12/1998
                         Forrest, Dundee (GB); Andrew                                                                                      OTHER PUBLICATIONS
                  Monaghan, Dundee (GB)
                                                                                                            Goldberg L: “Information Appliances: From Web Phones to
   (73) Assignee: NCR Corporation, Dayton, OH (US)                                                          Smart Refrigerators”, Electronic Design, US, Penton Pub
                                                                                                            lishing, Cleveland, OH, Vol. 46, No. 7, (Mar. 23, 1998), pp.
   (*) Notice:           Subject to any disclaimer, the term of this                                        69-70, 74, 76, 78, XP000780456, ISSN: 0013-4872.
                         patent is extended or adjusted under 35                                            Patent Abstracts of Japan, Publication No. 10276478, Date
                         U.S.C. 154(b) by 0 days.                                                           of Publication of Application Oct. 13, 1998 (Toshiba).
                                                                                                            Patent Abstracts of China, Patent No. CN1156673, Publica
   (21) Appl. No.: 09/388,808                                                                               tion Date Aug. 13, 1998 (Bai Zhiyong).
   (22) Filed:     Sep. 2, 1999                                                                             * cited by examiner
   (30)      Foreign Application Priority Data                                                              Primary Examiner Paul P. Gordon
        Sep. 4, 1998    (GB) ............................................. 98.19316
                                                                                                            (74) Attorney, Agent, or Firm-Gregory A. Welte
   (51) Int. Cl. ............................ G05B 15700; H05B 6/64                                         (57)                    ABSTRACT
   (52) U.S. Cl. ......................... 700/83; 219/679; 219/714;                                        A domestic appliance (1) Such as a microwave oven is
                                                    361/681; 361/683                                        adapted for interaction with a communications network (75)
   (58) Field of Search .............................. 700/17, 19, 83,                                      such as the Internet by the addition of a substantially
                 700/275, 211; 219/679, 702, 714; 34.5/156,                                                 Self-contained discrete communications module (12) con
                                          905; 361/681, 683; 348/383                                        nectable to the communications network (75), the commu
                                                                                                            nications module (12) including display means (20) and
   (56)                   References Cited                                                                  command entry means that optionally interact with the
                    U.S. PATENT DOCUMENTS                                                                   appliance (1). The appliance (1) is provided with mounting
                       a                                                                                    hardware (6) and an adaptor (7) including means for attach
          4,837.414 A      6/1989 Edamula .............. 219/10.55 B                                        ment to the mounting hardware (6) and means (10, 13-16)
          5,086,385 A * 2/1992 Launey et al. .............. 364/188                                         for mounting the communications module (12) to the appli
          5,586,174 A * 12/1996 Bogner et al. .............. 379/106                                        ance (1) via the adaptor (7). The communications module
          5,790,201. A     8/1998 Antos ......................... 34.8/552                                  (12) is adapted for connection to broadband cable or xDSL
          5,791,992 A         8/1998 Crump et al. ................. 463/41                                  networks. Thus equipped, the appliance (1) becomes an
          5,956.487 A * 9/1999 Venkatraman et al. . 395/200.48                                              element                                              -0
                                                                                                                     of a communications System (1,72, 73)dproviding
          6,133,847 A * 10/2000 Yang ..................... 340/825.72                                          ltiple functi litv includi televisi           Int    t
          6,198.479 B1 * 3/2001 Humpleman et al. ....... 345/329                                            multiple functionality including television and Interne
          6,202.212 B1 * 3/2001 Sturgeon et al. ..... ... 725/141                                           browsing functions within the home. Other elements of the
          6.252,883 B1 * 6/2001 Schweickart et al. ....... 370/441                                          communications System are a broadband online connection
                 FOREIGN PATENT DOCUMENTS
                                                                                                            (72) and a broadband portal (73).
   EP                  OO75026              3/1983                                                                                        8 Claims, 10 Drawing Sheets

                                                                                                                SYSTEMFACLITES
                                                                                                      : al:WAVE OWEN
                                                              'Y                                      A FREE INTRNET ACCESS

                                                                        APPLIANCEST                    BROADBANDONLINECONNECTION

                                                                                                                 74 C)
                                                                            ^                           J       (;           F5
                                                              : Escatt                                  ACCESSTOINTERNET
                                                              a TWCAPABILITY
                                                               MODEM

                                                                  73                            2
                                                                       N
                                                                                               BROADBAND PORTAL

                                                                                   T           HOME      BACK      FORWARD        PRINT

                                                                               LOOKNG FORAMSE---gins:
                                                                   CONTE-REE
                                                                        WEATHER
                                                                                            " -SERVICES
                                                                                • STOCKFILES

                                                               FINANCIALN-BANKING
                                                                SERVE-1 MORIGAGES
                                                                                                                  SHOPPING
                                                                                                                   CLOTHES     SHOPPNG
                                                                                • CREDITCARDS                        LCTRONICS

                                                                         CONTENT
                                                                       • USER SERVICES
                                                                       A RETAILEREFINANCIAL SERVICEAGREEMENTS
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            FIG. 1                         2                  ?




              FIG 3                                             /
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                F.G. 5A




                FIGSB




                FIGSC
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                   21
                         N                                               FIG. 6
                                                 CPU
                                                 BUS
           CABLE IN
                                            23

            CABLE                MPEG                                BACKLIGHT-30
            MODEM              DECODER                 37             CONTROL
      22


                               DISPLAYL
                               DRIVER
                                                                                    LCD
                                                                               DISPLAY
                                                                                PANEL
                                                                                          20

      CLOCK                  PROCESSOR
       GEN                                                           31
                                       24
                                                                  T/S                     TOUCH
                                                                 CNTRL                    SCREEN

           25        SYSTEM
                   MEMORY DRAM


                        26     BOOT                                      33                   (
                                                                                           34 (MIC)
                               ROM
                                                            32                            O
           2                                                AUDIO
               7                                            CODEC             AMP
                PROGRAM
            DOWNLOAD MEMORY
                                                                                          35 (SPK)
                                                              I/O
                                                            CONTROL
                        28     VIDEO
                                RAM                                 36
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            FG. 7
                                          38 (ACTIVENT)
                            40                                 NARROWBAND TO
                                                             EXISTING TELEPHONES
                              POTS
        EXISTING            SPLTTER
       TELEPHONE -->
          LINE                ADSL
                             MODEM
                                     39                                  ETHERNET


                                                               OTHER
                                                             ETHERNET
                                                              DEVICES


                     FIG. 8A
                 39                                                     CPUBUS
                                          41 (RJ45 CONNECTOR)
                                                                               37
         EXTERNAL
           ESETHERNET
          MODEM
                                               ETHERNET
                                              CONVERTER




                                                            FIG. 8B
                                                                              45
      42 (COAX CONNECTOR)
            RF TV                                                       NISEAL
            SIGNAL                                 DECODER           CONVERTER

                        TO THE AUDIO CODEC 32

                                          TO THE DISPLAY DRIVER 29
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          FIG. 10A                     WEBAND TV CONTENT

                             63        HTML WEB INFORMATION
                                       ADVERTS, SUBTITLES...
                20

                                                            WEB TV
                             TV CONTROL                    CHANNEL
                                                           SELECTOR
                          ACTIVEX CONTROL                  CONTROLS
                             DISPLAYING                       TV
                           LIVE TV PICTURE                 CONTROL




           FIG 10B                       TV ONLY CONTENT



                                            TV CONTROL

                                         ACTIVEX CONTROL
                                            DISPLAYING
                                          LIVE TV PICTURE




         FIG 11



          (e),                                                           D
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                                                           SYSTEMFACILITIES
                  FIG. 12                          e MICROWAVE OVEN
                                                   e FREE TV
                                                   O TOUCHSCREEN INTERFACE
          1                                        o FREE INTERNET ACCESS
              N
                       APPLIANCEITV                 BROADBAND ONLINE CONNECTION




         a MICROWAVE
         a LCD TOUCHSCREEN
         o TV CAPABILITY
         O MODEM


                  N
                                            BROADBAND PORTAL




               (CONTEND-ES    NEWS
                      O HEADLINES                              MIN MALL
                             a WEATHER
                               STOCKPILES

              FINANCIALNBANKING                                SHOPPING
              SERVEY         I MORTGAGES                          COHESSSHOPPING)
                             I CREDIT CARDS                    I ELECTRONICS


                  O CONTENT
                  a USER SERVICES
                  O RETALERT FINANCIAL SERVICEAGREEMENTS
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                                                        US 6,480,753 B1
                                  1                                                                       2
         COMMUNICATIONS, PARTICULARLY IN                                   wrong room within the home, a room that is not used
              THE DOMESTC ENVIRONMENT                                     frequently. Also, there appears to be a lack of trust in PCs
                                                                          and their reliability. Most participants felt that technology
                                                                          would let them down since, from their experience of PCs at
             BACKGROUND OF THE INVENTION                                  work, computers often crashed or Simply did not work
      The present invention relates to communications, and                properly. This attitude was reflected in relation to home
    contemplates easy-to-use computing devices deemed nec                 banking applications, Some participants Seeking face-to-face
    essary to drive the next generation of computing. Particular          contact with bank representatives for reassurance as well as
    aspects of the invention relate to communications in the              tangible proof that a transaction has actually taken place.
    domestic environment, involving a System arranged to man                 Against that background of research in So-called relation
    age data and to communicate data between the home and                 ship technologies, the Applicant has devised the concept of
    Selected remote facilities.                                           an Internet-and TV-enabled domestic appliance, preferably
      Many everyday activities Such as personal finance trans             in the form of a microwave oven. The concept arose from
    actions and household shopping increasingly involve elec              Several factors. One is the development of new relationship
    tronic data transfer between consumers at home and the           15   technologies, relating to how the appliance communicates
    related Service provider. Telephone banking is already very           with consumers via the Internet. Another is the idea of being
    popular and many banks now offer customers the option of              there-a permanent presence, always on. The concept also
    on-line home banking over the Internet. Large Supermarkets            depends upon Sensitivity to the context and usefulness of the
    and department Stores offer home delivery Services, where a           appliance with respect to its normal use within the home,
    customer places an order for Specific goods Such as groceries         and understanding and predicting the consumer's needs and
    by telephone or over the Internet and the ordered goods are           desires, to offer Suitable facilities through the appliance. In
    Subsequently delivered to the customer's home. Payment is             Sum, the concept is intended to capture a significant pro
    generally effected by providing credit/debit or Store card            portion of the many currently-offline consumers by provid
    details when placing the order.                                       ing a familiar appliance in a familiar location, that has
       At present, the provision of on-line Services over the
                                                                     25   attractive functionality Such as free TV and a simple user
                                                                          interface.
    Internet is largely available only to consumerS having acceSS
    to a personal computer (PC) linked to the Internet. However,             The Applicant is already pursuing patent applications
    many consumers do not have access to a PC within their                directed to broad concepts of its Internet-and TV-enabled
    domestic environment or are reluctant to use Such Services            domestic appliance. However, the Applicant's research in
    because of lack of familiarity with the use of computers. PCs         the field is ongoing: this research has identified Several
    are designed primarily as a functional tool for the workplace,        problems to which solutions have been developed. The
    and not for household use.                                            present application results from that research and develop
                                                                          ment effort.
      Even in households where consumers have access to a PC,
    the computer is rarely located in the most convenient            35
                                                                            One Such problem is that the invention contemplates a
    domestic environment for use in performing routine domes              technically-Sophisticated (albeit easy to use) communica
    tic activities Such as on-line Shopping etc. Computers are            tions module whose manufacture will require facilities that
    often located in private Spaces within the home, Such as a            may not be available to appliance manufacturers. Also,
    home office or a bedroom, rather than in more public Spaces.          appliances come in myriad shapes and sizes. It would be a
    This environment of use influences who in the household          40
                                                                          major barrier to propagation of the technology if appliance
    has access to the computer; Studies show that, on average,            manufacturers had to invest in making communications
    usage Still remains male-dominated rather than a shared               modules or in totally redesigning their appliances to accept
    family activity.                                                      such modules. It would similarly be a barrier if the com
       In recent years, the diffusion of home computerS has               munications module had in all cases to be adapted to Suit the
    slowed throughout the western world. By way of illustration,     45
                                                                          appliance.
    on-line PC household penetration in the US has slowed                              SUMMARY OF THE INVENTION
    down at around 40%, despite very healthy predictions for
    home on-line access and ever-falling PC prices. It appears              The Specification hereinafter proposes a Solution to this
    that the PC one size fits all approach to computing does not          problem. In accordance with this aspect of the invention, a
    Satisfy the requirements of most consumers, whose lifestyle      50   domestic appliance is provided with mounting hardware, a
    needs may be better met by alternatives offering ease of use          discrete communications module connectable to a commu
    that PCs fail to provide. There is therefore a need to satisfy        nications network, and an adaptor including means for
    the home computing needs of the many consumers who do                 attachment to the mounting hardware on the appliance and
    not personally perceive the need for a home PC, or who are            means for mounting the communications module to the
    dissuaded by its complexity, inconvenience and cost.             55   appliance via the adaptor.
    Accordingly, easier to use computing devices are needed to               For neatneSS and protection, the communications module
    drive the next generation of computing within the home and            is preferably received in a receSS in the adaptor, the adaptor
    indeed elsewhere. Those who bring such devices into public            Suitably framing the mounted communications module
    use will find a massive currently-offline market to be tapped.        received in the receSS.
       The Applicant's Studies with discussion groups have led       60     To enable access to the communications module during
    to many interesting findings. Whilst most participants in             adjustment or removal, bias means may be provided to urge
    Such studies have experience of using computers at work,              the communications module out of the receSS. In that case,
    the Studies noted a general feeling of uneasiness towards             latch means acting against the bias means may be provided
    technology. The PC is often Seen as being too complicated             to hold the communications module releasably in the receSS.
    for most of the computing tasks that users want to perform       65      Adjustment for viewing of a display on the communica
    at home or at work. Even for routine household tasks, the PC          tions module is catered for by movably mounting the
    is seen as being cumberSome, slow to boot and in the                  communications module with respect to the adaptor.
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                                  3                                                                      4
    Conveniently, the adaptor and the communications module                adult content) whereas closed access enables access to only
    are connected by mounting hardware that permits the com                Selected Sites, which may be specially adapted to users of the
    munications module to adopt any of a plurality of discrete             appliance.
    positions with respect to the adaptor.                                    Closed acceSS has Superficial advantages for the Service
       It is preferred that the appliance has a door and that the          provider. These advantages are a captive body of customers,
    mounting hardware, the adaptor and the communications                  T-tax revenues from all on-line transactions that those cus
    module are part of the door of the appliance. The appliance            tomers perform through the limited portals that are available
    is most preferably a microwave oven.                                   to them, and increased advertising rates at those portals
       In preferred embodiments, the communications module is              because the portals will have a high level of visits by each
    connectable to the communications network via a flying lead            active user. Open acceSS is leSS directly profitable in this
    connectable to the appliance, the flying lead preferably               respect because customers are free to migrate to other sites.
    connecting to an external terminal on the appliance. The               Nevertheless, open access is more appealing to the customer
    flying lead may include a port for data communication                  and So it is thought that any Short-term reduction in revenues
    between the communications module and the appliance.                   per customer by opting for open access will be more than
       This aspect of the invention extends to a method of            15   compensated by a longer-term increase in the Overall num
    assembling a domestic appliance and a Standard communi
    cations module, the method comprising providing one of a               ber of customers. A virtuous cycle results, with increased
    plurality of different domestic appliances having mounting             customer numbers bringing in greater advertising and T-tax
    hardware, fitting to the mounting hardware of that appliance           revenues which, reinvested, improve content and attract
    an appropriate one of a plurality of different adaptors each           more CuStomerS.
    having a Standard mounting for a communications module                   The most important driver in any advertising revenue
    and means cooperable with the mounting hardware, and                   Stream is reach, which is the number of active customers.
    mounting to that adaptor a Standard communications mod                 The invention therefore contemplates the provision of open
    ule.                                                                   acceSS but that customers are enticed to Stay with the
       Another potential problem arises from the possibility of a          appropriate Service provider and discouraged to leave.
                                                                      25
    remote-controllable common user interface to operate both              Aspects of the invention reside in these enticements and
    the communications module and the appliance with which                 discouragements, and more generally in the design of the
    that module is associated. Whilst remote control of the                portal itself.
    interface is highly desirable for convenience, it would be                For example, the invention contemplates an Internet redi
    potentially disastrous inadvertently to use a remote control           rection System for enabling an Internet Service provider or
    to Start a cooking cycle on a microwave oven, or to Switch             ISP to control open Internet access by redirecting the user to
    off a freezer.                                                         an alternative version of a web site addressed by a user, the
       Again, the Specification hereinafter proposes a Solution to         alternative version being Specific to the Service provider,
    this problem. The invention contemplates a domestic appli              wherein the System comprises a redirection table for storing
    ance having a primary domestic function but being adapted         35
                                                                           a list of web sites for which alternative versions specific to
    for the Secondary function of interaction with a communi               the Service provider exist, look-up means for consulting the
    cations network, the appliance including a user interface              redirection table when a user addresses a desired web site,
    operable by direct contact with the appliance and a remote             and redirection means for redirecting the user to the alter
    control facility operable by a remote control handset,                 native version of the addressed web site when Such an
    wherein activating or deactivating the primary function of             alternative exists in the redirection table.
                                                                      40
    the appliance is reserved for the user interface and the                  In this way, the user's essential freedom is preserved but,
    remote control facility is incapable of activating or deacti           where an ISP-specific version of the addressed web site
    Vating the primary function.                                           exists, the user is directed to that version in a way that
       It is envisaged that, in most cases, the primary function of        maintains advertising revenues. This benefits the economics
    the appliance will be cooking, defrosting or freezing. AS         45   of the Venture and acts as an enabling factor in propagating
    aforementioned, the appliance is preferably a microwave                the technology.
    oven in which case the primary function is cooking or                     It is possible for the redirection table to be stored locally
    defrosting.                                                            on the user's Internet-browsing apparatus, in which case the
       A conveniently integrated user interface can be con                 System preferably includes update means for updating the
    Structed if the primary function of the appliance is operable     50   redirection table by periodic download from the Internet
    via the communications network. It is envisaged that the               Service provider. The update means may be responsive to
    remote control facility is capable of controlling the Second           activation of the browsing apparatus, So as to update the
    ary function and optionally also part of the primary function          redirection table upon powering up the apparatus.
    of the appliance.                                                         This aspect of the invention may also be expressed as an
       Other aspects of the invention relate to the commercial        55   Internet redirection method for enabling an Internet Service
    choice between open and closed Internet access, and par                provider to control open Internet access by redirecting the
    ticularly its impact upon advertising revenues. Advertising            user to an alternative version of a web site addressed by a
    revenues are an important enabling factor in propagating the           user, the alternative version being specific to the Service
    technology, bearing in mind that the communications mod                provider, wherein the method comprises maintaining a redi
    ule is but one element of a communications System also            60   rection table storing a list of web sites for which alternative
    involving a broadband online connection and a broadband                versions Specific to the Service provider exist, consulting the
    portal, all of which will be costly to develop, use or run.            redirection table when a user addresses a desired web site,
    Consumers are traditionally unwilling to pay extra for                 and redirecting the user to the alternative version of the
    general Internet Services, especially if they are already              addressed web site when Such an alternative exists in the
    paying a Subscription to Secure access to the Internet.           65   redirection table.
       AS the names imply, open access gives the user access to              Further to control open access to the benefit of the ISP
    all sites on the World Wide Web (subject to e.g. filtering for         without hampering the user, the invention provides an
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                                                        US 6,480,753 B1
                                S                                                                      6
    Internet access System comprising an Internet-browsing                nications network, the communications means including
    apparatus operable by a user and being connected to the               display means and command entry means, wherein the
    Internet, wherein the browsing apparatus is configured to             display means is Switchable between modes in accordance
    open, upon activation, a web page that is not Selectable by           with input from a proximity Sensor adapted to Sense the
    the user.                                                             presence of a user near the communications means. The
       For appeal to a broad range of users, the browsing                 invention extends to an appliance having Such a communi
    apparatus preferably includes TV functionality. In that               cations means, and to related methods of Switching between
                                                                          modes.
    event, control of the TV functionality is conveniently                   The display means suitably switches from a standby
    effected via the web page. The browsing apparatus may also            mode to an on mode when the presence of a user is detected
    control a domestic appliance in the manner aforesaid and              by the proximity means. The display means can enter the
    again, control of the appliance may be effected via the web            standby mode upon a user entering a Standby command via
    page. The invention therefore extends to a method of con              the command entry means. Additionally or alternatively, a
    trolling TV functionality in Internet-browsing apparatus              timeout means takes activity input from the proximity Sensor
    connected to the Internet, comprising using the Internet              and the command entry means and puts the display means
    browsing apparatus to retrieve a web page and using that         15
                                                                          into the standby mode when a predetermined period of
    web page to control the TV functionality. Similarly, the              inactivity elapses.
    invention encompasses a method of controlling a domestic                 When in the standby mode, the display means can
    appliance, comprising using an Internet-browsing apparatus            display images downloaded from the communications net
    to retrieve a web page and using that web page to control the         work. Such images may be advertisements or information,
    appliance. The web page can be downloaded from the                    which for maximum effectiveness can be varied in accor
    Internet or retrieved from local Storage in the Internet              dance with the time of day, the weather, or user character
    browsing apparatus.                                                   istics Stored in the communications network. Such Stored
       Either of these methods can further comprise delivering            user characteristics may include predetermined preferences
    advertising or information images to the web page used by        25
                                                                          and interests, demographic Standing, and recent buying or
    the Internet-browsing apparatus in controlling the TV func            browsing patterns as, for example, detected by the above
    tionality or the appliance. In other words, the user can be           mentioned commerce and advertising engines of a portal.
    exposed to advertising via the web page used for control, for           With the proliferation of Smartcard technology, it is con
    example by targeted banner advertising to which the user              sidered important that the appliance of the invention and/or
    can respond by 'clicking-through, or by a sponsored frame             the communications module includes a Smartcard reader for
    of adverts around a TV window embedded within the web                 reading and preferably writing to a Smartcard. The invention
    page. Means can be provided for varying the advertising or            therefore extends to a domestic appliance including com
    information images in accordance with the time of day, the            munications means adapted for interaction with a commu
    weather, or stored user characteristics including predeter            nications network, the communications means including
    mined preferences and interests, demographic Standing, and       35
                                                                          display means and command entry means, the appliance
    recent buying or browsing patterns.                                   further including a Smartcard reader.
       To encourage users to Stay by providing a portal Service              The appliance may therefore be configured to download
    relevant to the user's preferences, an aspect of the invention        electronic cash from the communications network onto a
    relates to an Internet portal providing content and/or adver          Smartcard in data communication with the Smartcard reader,
    tising Sections under control of a content delivery engine       40
                                                                          and Similarly to upload electronic cash to the communica
    and/or an advertising engine, wherein the portal is associ            tions network from Such a Smartcard.
    ated with a user profile database that Stores perceived user            The Smartcard preferably identifies the user to the com
    preferences and provides outputs to the content delivery              munications network for Security purposes, or to configure,
    engine and/or the advertising engine to target content and/or         limit or otherwise define the service offered from the com
    advertising according to the perceived preferences.              45   munications network to the user. The service offered by the
       For greater effectiveness, the user profile database is            communications network can reflect the user's preferences
    preferably adaptive, taking inputs representing user behavior         Stored on the Smartcard; it is also possible for the Service
    to reflect the user's buying and browsing habits. For                 offered by the communications network to be limited in
    example, the user profile database can take input from an             accordance with the user's age or level of Subscription
    advertising engine that gathers and forwards data on the         50   payment to the network Service provider. A user-identifying
    user's response to adverts at the portal. The user profile            Smartcard can also be used to configure the communications
    database can also take input from a commerce engine that              means to Suit the user's operational preferences, for example
    gathers and forwards data on purchases made by the user via           to emulate the set-up of a PC also owned by the user.
    the portal.                                                              For convenient and correct operation, the Smartcard
       Another challenge arises in administering the preferred       55   reader is preferably adapted to retain the Smartcard during a
    always-on characteristics of the communications module                transaction and may further includes means for preventing
    while Saving power or reflecting the user's mode of use.              removal of the Smartcard before the transaction is complete.
    Ideally, no conscious interaction between the user and the            It is also preferred that the Smartcard reader is adapted to
    module should be necessary to Switch the module into or out           retain the Smartcard after a transaction is complete.
    of a dormant, power-Saving or ScreenSaver mode. Well             60      Where the appliance is a microwave oven having a door
    known timeout means can be used to Switch the module into             on the front of a cabinet, the Smartcard reader is conve
    Such a mode and, as the Specification will describe, proX             niently positioned on a fixed control and display Surface on
    imity Sensor means Such as a passive infra red Sensor can be          the front of the cabinet beside the door.
    used to Switch the module out of Such a mode and back into               The Smartcard functionality of the invention extends to
    an active mode.                                                  65   related methods of operation.
      This aspect of the invention therefore resides in a com               Aspects of the invention also reside in advantageous
    munications means adapted for interaction with a commu                constructional features of the appliance in general. For
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                                7                                                                         8
    example, the invention can be expressed as a domestic                   a third component-a communications module-in three
    appliance adapted for interaction with a communications                 alternative positions,
    network by the addition of a substantially self-contained                  FIG. 6 is a block diagram showing the hardware archi
    discrete communications module connectable to the com                   tecture of a core processing module within the communica
    munications network, the communications module includ                   tions module of the invention;
    ing display means and command entry means. This modular                   FIG. 7 is a block diagram of active network termination
    construction creates an easy-to-assemble appliance whose                using ADSL;
    major components can be Sourced Separately from manu                      FIGS. 8(a) and 8(b) are block diagrams of optional
    facturerS Specializing in the respective technologies.
       Conveniently, the appliance has a primary function Such              communications circuits within the core processing module
    as cooking or defrosting that is at least partially controllable        for handling ADSL and RF TV signals;
    by the communications module. It is also possible that                     FIG. 9 is a block diagram of Software module architecture
    control of the primary function can be effected via the                 of the core processing module,
    communications network. Where the communications net                      FIGS. 10(a) and 10(b) illustrates two example web pages
    work is the Internet, control may be effected by command           15   that can be displayed by the communications module to
    entry acting upon a web page displayed by the display means             provide access to Internet and television content;
    as aforesaid.                                                              FIG. 11 is a flow diagram illustrating Switching between
       For maximum appeal and utility to users, the communi                  standby, on and off modes, for example for the purposes
    cations module is preferably adapted to receive and display             of power management;
    television broadcasts from the communications network.                     FIG. 12 is a block diagram illustrating three elements of
    The communications network may be a broadband cable or                  a communications System according to the invention, the
    XDSL network and if the communications network is xDSL,                 microwave oven of FIG. 1 being the first of those elements;
    the communications module preferably further includes an                and
    RF TV input.                                                       25
                                                                              FIG. 13 is a block diagram of a portal being the third of
       Elegantly, the command entry means is preferably a touch             the elements shown in FIG. 12.
    Screen integrated with the display. The command entry                                  DETAILED DESCRIPTION
    means can also include a microphone for Voice command
    inputs.                                                                    Referring firstly to FIG. 1, a microwave oven 1 comprises
       For maximum display area, the display means preferably               a generally cuboidal hollow cabinet 2 whose open front is
    occupies substantially all of the visible surface of the                closed by a hinged door 3 offset to one side to provide Space
    communications module when the module is mounted,                       for a fixed control and display surface 4 beside the door 3.
    attached or incorporated into the appliance. The aforemen               To a considerable extent, therefore, the oven 1 is of familiar
    tioned touch Screen helps to enable this preferred feature.             appearance to those used to ordinary microwave ovens.
       For ease of assembly and to minimize changes to the             35
                                                                            However, in the embodiment illustrated, the door 3 is an
    appliance, the communications module is advantageously                  assembly of three main components. That assembly 3 is best
    connectable to the communications network via a flying lead             shown in FIGS. 2, 3 and 4, to which reference is now made.
    connected to the appliance. The flying lead can connect to an              The first component of the door assembly 3 is a door panel
    external terminal on the appliance.                                     5 hinged permanently to the body of the oven 1. The door
       The invention extends to a method of adapting a domestic        40   panel 5 is a thin metal pressing that effectively replaces the
    appliance for interaction with a communications network,                door of a traditional microwave oven and So performs all
    the method comprising adding a Substantially Self-contained             necessary Sealing functions to ensure operational Safety. So,
    discrete communications module to the appliance, the mod                the microwave oven 1 can operate Safely with only this door
    ule having display means and command input means, and                   panel 5 in place. The door panel 5 carries latching hardware
    connecting that module to the communications network.              45   on its rear Surface cooperable with corresponding latching
    This method Suitably comprises connecting the communi                   means on the oven cabinet 2, although this hardware can be
    cations module to the appliance to enable control of the                of Standard design and So is not shown.
    appliance via the module.                                                 Unlike traditional microwave oven doors, which include
             BRIEF DESCRIPTION OF THE DRAWING                               a viewing window protected by a mesh that is Substantially
                                                                       50   impenetrable to microwave radiation, the door panel 5 is
       In order that the various aspects of this invention can be           opaque and carries an array of mounting lugs 6 on its
    more readily understood, reference will now be made, by                 exposed front Surface. The mounting lugs 6 are positioned to
    way of example, to the accompanying drawings in which:                  correspond with and to be received by mounting holes (not
       FIG. 1 is a perspective view of a microwave oven                     shown) in the rear Surface of the Second component of the
    constructed in accordance with this invention, showing a           55   door assembly, namely a surround 7. The Surround 7 snap
    partially disassembled door assembly;                                   fits to the door panel 5 by co-operation between the mount
       FIG. 2 is an exploded perspective view of the door                   ing holes and the mounting lugs 6.
    assembly shown in FIG. 1, showing its three main compo                    AS best shown in FIGS. 2 and 4, the Surround 7 is an
    nents,                                                                  oblong perimeter frame of hollow members-two uprights 8
       FIG. 3 is a plan view corresponding to FIG. 2 and               60   connected by two cross-members 9-that between them
    showing how the three components of the assembly fit                    define a shallow generally oblong recess 10. The front of the
    together to form the door of the microwave oven of FIG. 1;              recess 10 is open and its back is defined by a web that is cut
       FIG. 4 is a sectional perspective view of an assembly of             out to form a cantilevered Spring member 11. The Spring
    two of the components of the door construction, namely a                member 11 is inclined forwardly at its lower, free end to
    door panel and a Surround;                                         65   protrude into the recess 10.
      FIGS. 5(a), 5(b) and 5(c) are a sequence of partial                     The recess 10, in turn, receives a third component of the
    perspective views of the complete door assembly, showing                door assembly 3, namely a communications module 12.
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    Mating parts hold the communications module 12 in the                  12 can be fitted neatly to any of several completely different
    receSS 10, these parts comprising hinge openings 13 and                microwave ovens without calling for major tooling invest
    locating openings 14 in the uprights 8 of the Surround 7,              ments from their manufacturers. The same principle can of
    which openings receive, respectively, hinge pins 15 protrud            course be applied to any appliance.
    ing from near the top of each side of the communications                  Accordingly, by means of the invention, the communica
    module 12, and locating pins 16 protruding from the com                tions module 12 could be manufactured by numerous com
    munications module 12 just below the hinge pins 15.                    panies that do not necessarily have appliance manufacturing
      The thickneSS and shape of the communications module                 expertise. Conversely, appliance manufacturers that do not
    12 matches the shallowness and shape of the recess 10, thus            necessarily have a high-technology capability could use the
                                                                           module Simply by providing appropriate mounting hard
    enabling the communications module 12 to lie flush with the            WC.
    front face of the surround 7 as shown in FIG. 5(a).                      An important aspect of this facility is compactness, the
    Nevertheless, the communications module 12 can be tilted               idea being that everything required to conform to the archi
    up by pulling its lower edge out of the receSS 10, to either           tecture described below is contained in the communications
    of two positions as shown in FIGS. 5(b) and 5(c). This                 module 12 contained in turn within the microwave oven
    improves visibility of the display carried by communications      15
                                                                           door. For typical European microwave models, the door is
    module 12 when the oven 1 is situated on a low Surface. The
    communications module 12 hinges about the hinge pins 15                about 28 cm high, about 40 cm wide, and about 4 cm thick.
    during this movement.                                                  The entire door assembly described above must therefore fit
                                                                           within this Volume, confining the communications module
       The locating openings 14 are shaped to define detents 17            12 itself to somewhat less than this volume. The electronics
    for the locating pins 16 to hold the communications module             and especially the display within the communications mod
    12 in the positions shown in FIGS. 5(b) and 5(c), the detents          ule 12 must be shielded from potential sources of heat,
    17 being in the lower edge of each locating opening 14 So              especially in combination microwave/convection ovens or
    that the locating pins 16 are held therein by force of gravity         in dual-function microwave Ovens that have IR heating
    acting on the communications module 12. The hinge open            25   elements to brown the food being cooked.
    ingS 13 are large enough to permit the hinge pins 15 to float            The communications module 12 is a Self-contained unit
    within the hinge openings 13 as the locating pins 16 move              that can be integrated into the door 3 of the microwave oven
    in and out of the detents 17 of the locating openings 14.              or indeed similarly integrated or otherwise attached to other
       The spring member 11 of the surround 7 bears against the            appliances around the home or workplace. For this purpose,
    rear of the communications module 12 when the module 12                the communications module 12 has flying leads (not shown)
    is mounted in the recess 10. The spring member 11 biases the           for power and communications that can be routed through
    communications module 12 forwardly out of the recess 10,               e.g. the door hinge of a microwave oven to a convenient
    which must therefore be pushed into the recess 10 against              position within the oven, terminating with a Suitable external
    this bias when being mounted in the recess 10. The com                 I/O panel. Indeed, with Suitable power Supplies and com
    munications module 12 is retained against this bias by a          35   munications connections, the communications module 12
    sprung latch 18 in the lower cross-member 9 of the surround            can be used on its own, independently of a Supporting
    7 that engages with a lug (not shown) in the lower edge of             appliance, to Serve various other functions.
    the communications module 12 when the communications                      For example, a Stand-alone communications module 12
    module 12 is pressed fully into the recess 10. When the latch          could perform as a communications and entertainment mod
    18 is pressed, it disengages from the lug and allows the          40   ule for use in hotels. Suitably programmed and connected,
    Spring member 11 to push the lower edge of the communi                 one such module 12 could replace the TV, the movie set top
    cations module 12 out of the recess 10. The lower edge of              box and the telephone within a hotel room. Additionally, this
    the communications module 12 can then be grasped by a                  module 12 could allow a user to read his or her e-mail in the
    user and lifted into the desired angular position, whereupon           hotel room by configuring the module 12 to emulate their
    the module is released to allow the locating pins 16 to fall      45   own PC, for example using a Smartcard Securely to Store and
    into the appropriate detents 17 of the locating openings 14.           download configuration information to the module. These
       Stowing the communications module 12 back into the                  are just a few possibilities: there are myriad uses to which
    position shown in FIG. 5(a) is a reversal of this, involving           Such a compact and configurable module 12 could be put.
    lifting its bottom edge slightly to free it from the detents 17           With the exception of a thin peripheral frame 19 that
    and then pivoting the module 12 back towards the vertical         50   wraps around the edges of the communications module 12,
    against the bias force of the Spring member 11. Once the               Substantially the entire front of the communications module
    lower edge of the module 12 is wholly within the recess 10,            12 is defined by an LCD display 20 having a touch screen
    the lug at the lower edge of the module 12 engages with the            overlay that is not visible in the drawings. The LCD display
    latch 18 and the module 12 can be released.                            20 is a widely-available and economical 12.1"-diagonal
      AS the door panel 5 and the Surround 7 are separate             55   TFT-type flat panel including a backlight facility, although it
    components and as the door panel 5 is concealed by the                 may be possible to use a lower-cost alternative Such as a
    surround 7 when the oven door is closed, there is scope for            reflective-type LCD that does not require backlight control.
    customization of otherwise identical microwave ovens by                Of course, the size of the LCD display 20 will ultimately be
    changing the shape, color, texture and/or size of the Surround         dictated by the size of the microwave oven door. Display
    7. Microwave oven manufacturers can produce Standard              60   resolution of 800x600 is deemed adequate for present
    door panels 5 or at least Standard patterns of mounting lugs           purposes, operating on an SVGA input signal. The module
    6 on their door panels 5, to which different surrounds 7 can           12 can be factory pre-set for optimum operation in SVGA
    be attached to Suit different sizes and shapes of cabinet 2.           mode, although VGA compatibility is also possible. There is
    Nevertheless, each different Surround 7 defines a standard             considered to be no need for manual adjustment of bright
    receSS 10 adapted to receive a Standard communications            65 neSS Or COntraSt.
    module 12. So, by using the Surround 7 as an intermediary                The touch screen overlay is a five-wire resistive touch
    or adaptor in this way, a Standard communications module               Screen operating under the control of appropriate control
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                              11                                                                       12
    electronics and a Windows CE driver, Suitably having a                   A Single DC power Supply module (not shown) is pro
    resolution of 4096x4096 and achieving positional accuracy              Vided within the communications module 12, and is prefer
    of 1%.                                                                 ably capable of accepting a universal voltage input
       It is preferable, but not essential, that the communications        (100–250V 50/60 Hz AC) to cater for the main supply
    module 12 has Some means of indicating that power is on,               Systems of different countries. A voltage Selector may be
    for example a power-on LED. This objective may,                        provided to tailor the module 12 to the country of sale.
    however, be achieved by running a Screen Saver on the                  However, if such a selector is provided, it is preferably
    display 20.                                                            inaccessible to the consumer So that the core processing
      So far as the user is concerned, all operation of the                module 21 cannot easily be damaged by being Set to the
    communications module 12 will be via the touch Screen, or              wrong Voltage.
    by an IR remote control (not shown). The microwave oven                  The preferred Style of power connector is a permanently
    1 itself can be controlled via the communications module 12            attached mains cord, or alternatively an approved 3-pin
    but, for Safety purposes, it is envisaged that the remote              bulkhead attached mains connector.
    control will have no ability to Switch the microwave oven 1              The hardware architecture of the core processing module
    into a cooking mode: this is reserved for the touch Screen. In    15   21 is set out in FIG. 6. This architecture relates to a
    this way, it is ensured that the user is always present at the         cable-connected unit because the preferred, default commu
    Start of cooking and that, for example, Someone putting                nications Sub-System is cable. Cable provides downstream
    Something heavy onto the remote control cannot inadvert                Video and data and an upstream data channel, one connec
    ently Start the oven 1 cooking. Similarly to prevent inad              tion thus being all that is necessary to transmit TV and allow
    vertent operation, any Set-up controls required are posi               Internet access. The cable modem 22 and MPEG decoder 23
    tioned internally within the communications module 12 So               shown in FIG. 6 are specific to that application.
    that they are accessible to production and Service perSonnel             There are currently two main Standards for data over cable
    but are not available to the user.                                     connections:
       The communications module 12 relies upon the quality of               Digital Video Broadcast and Digital Audio Video Council
    its user interface to appeal to those with low computer           25       (DVB/DAVIC); and
    literacy skills and little or no online experience, but who are          Multimedia Cable Network Services (MCNS) or Data
    familiar with using a microwave oven, who typically use                    Over-Cable Service Interface Specification (DOCSIS).
    paper diaries & noticeboards, and who are aware, at least in             The DVB/DAVIC Open Standard supports digital
    outline, of the use of touch Screen devices.                           TV/Video, interactive services and telephony broadband
      Users should be able effectively and efficiently to perform          networks. This provides the ability to display digital TV on
    a task (banking, shopping, e-mail, cooking etc.) using the             a monitor. The European standard under DVB/DAVIC
    touch Screen and/or the remote control, while their use of the         (ETISI-ETS 300 800 & DAVIC 1.5) has been accepted in
    oven 1 for cooking and defrosting purposes should not be               South America and in much of Asia Pacific. Conversely, the
    impeded to any significant extent. Crucially, users must               MCNS/DOCSIS standard was initiated by the North Ameri
    perceive the module 12 as being less difficult to use than a      35   can cable operators and media companies. This Standard is
    Standard PC providing Similar functions. To this end, Simple           obviously Strong in North America but it is also used in parts
    user instruction and onscreen help facilities Support user             of Asia Pacific.
    interaction.                                                              Both these standards provide an MPEG2 stream and an IP
       The user interface provides a common interface by which             Stream, but there are significant differences in the types of
    a user of the System can Select, acceSS and interact with the     40   encoding used to transfer data within the MPEG transport
    communications module 12 and the general cooking func                  Stream. AS these differences mean that the two standards are
    tion of the oven 1 with which it is associated.                        not interchangeable, the core processing module 21 Supports
    Advantageously, the display Screen 20 with its touch Screen            both of these standards.
    overlay is arranged as a graphical user interface and is                  There is a wide choice of processors but, having regard to
    provided with an icon-based tool bar. This allows for ease of     45   the Software architecture Set out below, the chosen processor
    access and choice of the appropriate functionality afforded            24 should be capable of supporting Microsoft's Windows
    by Internet tools Such as Standard web browsers, and                   CE. Of course, the chosen processor 24 must also have
    achieves quick and ready access to functions commonly                  processing performance deemed adequate for any given
    arising in relation to electronic mail, electronic banking,            application. Several vendors provide Such processors, for
    electronic Shopping and personal organizer facilities of the      50   example as listed in the Microsoft web site at www.mi
    System. Hence, the display 20 provides a user interface not            crosoft.com. The name Microsoft and the names of its
    only for the general cooking functions of the Oven 1 but also          products referred to herein are acknowledged as trade markS.
    for the control and management of data and the Internet                   The memory resources of the core processing module are:
    access achieved by means of the communications module                  system memory 25, typically 16 Mb of SDRAM; boot
    12.                                                               55   memory 26, typically 1 Mb of Flash EPROM used to store
      A childproof latch or an optional parental lock-out code             the system BIOS and also code for self-diagnostic functions;
    may be employed to alleviate concerns as to Safety and                 program download memory 27, typically 16 Mb of
    restricted content.                                                    EEPROM; and video memory 28, typically 2 Mb of Video
      The LCD display 20 is sandwiched between the touch                   RAM.
    Screen overlay and a core processing module 21 (not shown         60     An on-board VGALCD display driver 29 provides video
    in FIGS. 1 to 5, but see FIG. 6 for its hardware architecture)         support. In this embodiment, the display driver 29 must be
    situated behind the display 20 within the communications               Windows CE compatible and must Support TFT-type flat
    module 12. The core processing module 21 can therefore be              panels including LCD backlight control 30.
    connected directly to the display 20 and the touch Screen                Touch screen control electronics 31 employ a Windows
    overlay, to the benefit of cost and reliability; for further      65   CE driver for operation of the touch screen overlay.
    cost-effectiveness, the core processing module 21 is Suitably            An audio controller 32 and Signal amplifier 33 Support
    embodied within a single PCB.                                          input from a microphone 34 and mono output to a speaker
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                                13                                                                   14
    35, minimum of 1 W RMS. Cost-effectively, the microphone             converter 45, which in turn Supplies VGA-formatted video
    34 and the speaker 35 are mounted directly onto the PCB of           information for use by the display driver 29.
    the core processing module 21 to eliminate interface cable             The net result of these connectivity issues is that the
    and connector costs. Suitably configured, the communica              physical communications interface of the communications
    tions module 12 thereby has the ability to operate as a              module 12 is a group of connectors provided on the end of
    hands-free telephone, optionally using Internet telephony or         a flying lead cable connected to the module 12. The group
    being connected directly to the Subscriber's telephone Ser           of connectors comprises an F-connector available for con
    vice provider through the Switched network.                          nection to a cable network, an RJ45 or RJ11 connector
       A multi-I/O peripheral controller 36 controls the micro           available for connection to an external ADSL modem, and a
    wave oven 1, for which purpose an 8 bit data port (not               co-axial connector available to accept RF TV input. These
    shown) is made available on the CPU bus 37 for the oven              connectors can of course be replicated on any appliance with
    manufacturer to interface with the conventional oven control         which the communications module 12 is integrated. In any
    devices. The controller 36 also controls an IR port (not             event, it is a design objective that an appliance including the
    shown). An IR interface (not shown) is provided for inter            communications module 12 shall require no special tools for
    facing with external IR control devices Such as an IR mouse,    15   installation and so should be installable by the customer,
    an IR keyboard or an IR remote controller such as used for           assuming that the Site is properly prepared with communi
    TV. An appropriate IR interface device can be mounted                cations cabling and power points.
    directly onto the PCB of the core processor module 21.                 The Software architecture of the communications module
      Whilst the default communications medium is cable as               12 will now be described with reference to FIG. 9 of the
    aforesaid, an alternative to cable uses the capabilities of          drawings.
    ADSL (Asymmetric Digital Subscriber Line), which is                     It is envisaged that the core processing module 21 will use
    available over existing copper telephone lines. The core             as its operating system Microsoft's TVPAK software solu
    processing module 21 should therefore also have the ability          tion. Microsoft's TVPAK is a specialized version of its
    to support ADSL connection where the video/TV content is             Windows CE operating system, developed for the demands
    appropriately formatted at the head end prior to transmission   25   of television set-top boxes. Windows CE is a reliable,
    via an ADSL link. In case ADSL is used for the Internet              flexible and compact operating System that provides func
    connection and no video/TV content is provided via the               tionality including multitasking, multithreading and Special
    ADSL link, then an RF input should also be provided for the          ized graphics handling for television pictures.
    video/TV signal. To this end, the cable modem 22 and                   Full information on TVPAK, Windows CE and indeed all
    MPEG decoder 23 shown in FIG. 6 can be supplemented by               Microsoft products is available from Microsoft at www.mi
    the circuitry shown in FIGS. 8(a) and 8(b).                          croSoft.com.
       First, however, reference is made to FIG. 7 to explain the           Microsoft TVPAK provides, supports and is compliant
    options for network termination using ADSL. If ADSL                  with a broad range of television industry Standards and
    connectivity is required, then the necessary network termi           hardware including:
    nation (NT) hardware should be provided external to the         35      DOCSIS and DVB, the two main emerging standards; and
    core processing module 21 as shown in FIG. 7. The con                   DirectX Support for high-performance graphics handling
    nection between the NT 38 and the core processing module                  for television picture display and manipulation.
    21 should be an Ethernet connection.                                    With specific reference to the block diagram of FIG. 9,
       Two types of network terminators are possible at the              this illustrates the software modules within the currently
    consumer premises, namely active NT and passive NT. In          40   preferred implementation of the invention. Briefly,
    active NT as shown in FIG. 7, the ADSL modem 39 is part              Microsoft's TVPAK Windows CE implementation follows a
    of the active NT point 38 and is provided by the telecom             Set-top box architecture with hardware and Software dedi
    munications supplier. The output from the ADSL modem 39              cated to the task of Internet and television Service provision.
    can be in a number of formats including Ethernet. In passive         Each box in FIG.9 represents an available software interface
    NT, only the POTS splitter 40 is provided by the telecom        45   definition defined by Microsoft, with the exception of the
    munications Supplier and So the consumer is expected to              microwave oven control whose design will be within the
    provide the appropriate ADSL modem 39 in each network                compass of a skilled technician having regard to the opera
    end point. From the telecommunications Suppliers                     tional requirements of the oven.
    viewpoint, active NT is preferred. However, for certain                 The Internet Explorer Browser 46 is the single controlling
    forms of xDSL such as VDSL where the upstream and               50   application that provides the primary user interface for both
    downstream data rates are both equally very high (up to 26           television and web content and potentially microwave oven
    Mbits/sec Symmetrical), then a dedicated modem in each               control. HTML 47 is the Internet standard that allows the
    end point is desirable.                                              web content to be displayed. HTML 47 can reference
      For the purposes of the present invention, however, the            ActiveX controls 48 that allow television pictures to be
    form of xDSL that is most Suitable is ADSL, in which            55   embedded within the page. HTML can also reference
    upstream rates of up to 1 Mbit/sec and downstream rates of           ActiveX controls 48 that control microwave oven operation.
    up to 8 Mbits/sec are obtainable. In this instance, the core           Microsoft TVPAK also supports the Microsoft Broadcast
    processing module 21 should provide an Ethernet connec               Service (BCS) architecture. BCS architecture adds compo
    tion for the purpose of connecting to the output of the              nents to the Windows CE operating system that, in addition
    external ADSL modem, 39 as shown in FIG. 8(a). An RJ45          60   to basic TV control, provide management of audio/video
    connector 41 is illustrated for this purpose in FIG. 8(a),           Streams; development electronic program guides (EPG);
    although an RJ11 connector can be used in the alternative.           conditional access (CA) pay-per-view services; and process
      Where RF TV connection is required, as shown in FIG.               ing of broadcast data (Sub-band information, e.g. Subtitles).
    8(b), a coaxial connector 42 feeds the RF TV signal to an              Microsoft TVPAK also includes the non-specialized Win
    appropriate RF TV tuner 43, which in turn feeds an RF           65   dows CE’s Internet Services. Windows CE includes access to
    decoder 44 that Supplies audio information to the audio              the Internet using TCP/IP and comes equipped with a full set
    codec 32 and video information to an NTSC/PAL to VGA                 of access utilities, as follows.
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      Web browsing (Internet Explorer 4.01 based), HTML,                    technologies, primarily provided by MicroSoft, that extracts
         DHTML.                                                             Specialized television content.
      Secure Socket Layer (SSL) access to Internet transaction                TV control 49: A high level ActiveX control that can be
         Services.                                                               embedded into a web page. The control displays a full
      ActiveX Support for the download of code and service                       motion television channel. The control is Supplied by
         enhancement.                                                            Microsoft.
      Support for VBScript and JScript web scripting technolo                 A/V manager 50: Used by the TV Control 49, the A/V
         gIeS.                                                                  Manager 50 uses the high performance DirectX graph
       However, Microsoft's Windows CE does not currently                       ics engine within Windows CE to draw the television
    Support Java (trade mark).                                         1O       picture onto the video display. The A/V Manager is
       The Internet Explorer Browser 46 is provided by                          Supplied by Microsoft.
    Microsoft as part of its TVPAK. The following sections                    Conditional access manager 51: The conditional access
    detail customizations of the browser that are required to                   manager 51 is a set of ActiveX controls used by web
    allow it to operate Successfully within the communications                  pages and Web Script to access parental control and
    module 12.                                                         15       other Services including encrypted or pay Services.
    1. Software Start-up                                                        Conditional Access ActiveX controls are provided by
       When started, the software starts the Internet Explorer                  Microsoft. Underlying the controls is a CA service
    Browser 46 and loads an HTML home page located locally                      provider which must be developed to match the con
    on the communications module 12. This allows the module                     tent provider entitlement System.
    to function even when not connected to a network.                         Electronic program guide (EPG) 52: The EPG ActiveX
      Local page(s) could potentially be customized for the                      control operates continuously in the background col
    vendor or manufacturer of the appliance, or the Service                      lecting programming information. The EPG relies upon
    provider. If microwave oven control is accessed through the                  the web browser to present a user interface and only
    Internet Explorer interface, the web-page control pages                      provides access to the programming database. An
    would also be located locally on the communications mod                      ActiveX control to access EPG information is provided
    ule 12.                                                            25        by Microsoft. Underlying the controls, an EPG loader
    2. User Interface Security                                                   must be developed to match the in-band, out-of-band
       The communications module 12 prevents the possibility                     broadcast mechanism of the content provider.
    of Someone building a remote web page and attempting to                   The conditional acceSS manager 51 and the electronic
    control the microwave oven 1. Only local web pages will be              program guide 52 operate upon broadcast data 53.
    able to access the ActiveX control that controls the micro                Providing the mainstay functionality within the Windows
    wave oven 1.                                                            CE operating system is the Windows CE kernel 54. The
      The communications module 12 includes Security provi                  kernel 54 provides the familiar Win32API used extensively
    Sions that emulate the MicroSoft wallet, which provides a               by the Internet Explorer Browser and Broadcast Services.
    Secure mechanism for the Storage and transmission of credit               The Windows CE kernel 54 uses an OEM adaptation layer
    card information. For privacy reasons, personal information        35   (OAL) to access machine specific hardware. Building the
    on user and credit information will be lost on loss of power.           communications module around Standard industry
      When accessing a Secure web page, the communications                  processors, memory and buses allows the use of MicroSoft
    module will display a pad-lock indicating the use of Secure             Supplied OALS, where possible.
    Sockets.                                                                  Windows CE services allow network applications, includ
    3. Text Entry                                                      40
                                                                            ing the Internet Explorer Browser, to access the physical
                                                                            hardware connected to the network.
       When a user Selects a control on a web page that requires               Connection to a cable network will require a cable modem
    text entry, the communications module 12 will automatically             interface; the Windows CE networking Subsystem will com
    present a software keyboard on the display 20. The keyboard             municate to the modem interface using an NDIS interface
    will overlay the Internet browser display presenting a full             driver.
    “qwerty' keyboard with digits, delete and enter keys.              45     Windows CE provides a driver 55 to connect the IR
       The keyboard will also attempt to auto-complete an entry             receiver to the Windows CE network Subsystem. The IR
    when a previous entry matches what the user types. Again                receiver will allow ActiveX objects on the user interface to
    for privacy reasons, auto-complete information will be lost             receive remote-control events. In general, Windows CE uses
    on power loSS.                                                          drivers to allow hardware to be controlled from Windows
    4. Redirection List                                                50   CE applications. As shown in FIG. 9, a number of drivers
       The communications module 12 will maintain a list of                 will be required to access device-specific hardware.
    redirection URLs. If a user is linked to or types in a URL that            Underlying the Microsoft A/V Manager is a hardware
    exists in the redirection list, the user will be redirected to a        video decoder. The video decode hardware 56 takes a data
    corresponding match in the list. This list is to ensure that            stream from the cable modem 39 and translates it into a
    users of the communications module are provided with the           55   Video display. This translation can be computationally
    highest quality of Service when Specialized versions of the             expensive and benefits from hardware acceleration. To avoid
    Service exist. For example, instead of linking to the default           the need to develop a unique driver, the video decode driver
    Amazon (trade mark) web site http://www.amazon.com                      56 chipset is preferably selected on the basis of having a
                                                                            Windows CE driver.
    users could be taken to a microwave version http://                       The Sound 57 and video 58 hardware requires DirectX
    microwave.amazon.com. Users can thereby be directed to             60
                                                                            drivers to provide a rich audio and Video presentation.
    value-added Services where applicable, allowing for e.g.                Again, the Sound/video chipset Selection should be based
    revenue generation. An up-to-date redirection list can be               upon having a Windows CE driver to avoid the need for a
    downloaded to the module 12 on each power-up and initial                unique driver.
    connection to the content Service provider.                               The touch mouse driver 59 translates touch events on the
    5. Broadcast Services                                              65   touch screen into mouse events. Such a driver 59 will
      Underlying the user-interface TV control are broadcast                generally be available from the touch Screen hardware
    services (BCS). As mentioned briefly above, BCS is a set of             vendor.
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       The microwave driver 60 is a specialist driver to control          the communications module 12 from on 66 to standby 65
    the oven operation, developed to match the operational                when a predetermined period of inactivity is observed by the
    requirements of the Oven 1.                                           SCSO.
       The Internet communications capability of the commu                  An appropriate proximity Sensor would be a Standard PIR
    nications module 12 Supports the capability to update the             (passive infra red) Sensor. The Sensor should have a near
    system software by remote download. Download is prefer                range capability to ensure that the System only Switches to
    ably transparent to the user and happens in the background            full power-on mode 66 when a user comes close to the
    of other tasks. When download is complete, the communi                communications module 12. It has been mentioned above
    cations module 12 Suitably waits for a period of inactivity           that an 8-bit data port may be made available to a microwave
    before momentarily interrupting Service to Start the new              oven manufacturer to interface with the conventional oven
    Software, without any user intervention.                              control devices. This port may also serve as an interface for
       Software can be downloaded in this way using the Inter             the proximity Sensor.
    net FTP protocol. An FTP downloader is embedded as part                  Coupled with the aforementioned IR remote control, the
    of the Microsoft Internet Explorer and WEB servers.                   proximity Sensor helps the disabled. For Similar reasons, the
       The latest downloaded software will be persistently stored    15   communications module 12 can be programmed to Support
    in EEPROM 26 in case of a restart. The communications                 Voice recognition So that speaking to the module 12 can
    module will require twice the image size EEPROM (16 Mb)               control its operation and that of any appliance that the
    to allow it to Store the complete valid running image and a           module 12 in turn controls. The aforementioned microphone
    potentially near complete download image. The communi                 34 can be used for that purpose.
    cations module will in any event have one complete valid                 It is also possible for a display to be maintained when in
    application image continually stored in EEPROM 26 in case             the standby mode 65, in the manner of a screensaver. Whilst
    of power failure.                                                     this may not Save much power, Such a Standby display would
      FIGS. 10(a) and 10(b) illustrate two example web pages              be an excellent opportunity for advertising at the heart of the
    that provide access to Internet and television content. FIG.          home. If downloaded periodically from the communications
    10(a) illustrates Internet and TV content in which TV            25   network to which the communications module 12 is
    content is shown as an ActiveX-generated frame 61 beside              connected, Such advertising can be targeted in various ways.
    TV controls 62 and general web information 63 such as                 For example, it can reflect that household's demographic
    Sponsored adverts relevant to the TV transmission, or banner          Standing or its recent buying or browsing patterns, or it can
    advertising to which the user can respond by 'clicking                Simply be adapted to Suit the weather or the time of day.
    through. FIG.10(b) illustrates TV-only content in which the              The advertising concept extends to local information
    ActiveX control displays a TV picture 64 occupying Sub                Services, Such as what's happening today at the town hall,
    Stantially all of the display 20. Access to microwave-specific        what's on tonight at the local cinema, and So on. It is also
    Services can be obtained by the same techniques.                      possible to define affinity groups within a community to
       In the interests of low running costs and environmental            whom special Services are offered relating to their shared
    friendliness, consideration should be given to conserving        35   interest Such as fishing, motoring, do-it-yourself and other
    power whenever possible. For this reason, provision is made           hobbies.
    for a standby power State where the graphics System shuts                The invention also lends itself to participative games,
    down and the display goes off. Entry into this reduced power          playing a lottery or other gambling games. For example, in
    State may be user-activated in any Suitable manner, for               view of the architecture of cable networks, it is possible to
    example via an on-Screen control, or when a predetermined        40   play one's neighbor at, for example, chess while each player
    period of inactivity has elapsed.                                     is still in his or her own home. There would be ample
       The power management scheme is illustrated in FIG. 11,             bandwidth in a cable network for the playerS also to Speak
    which shows how the communications module can Switch                  to and hear each other during their game, using the micro
    between the three possible states of standby 65, on 66 and            phone 34 and speaker 35 of the communications module 12
     off 67. In operation A, the user activates a standby mode       45   in the manner of a hands-free telephone as aforesaid.
    65, for example by pressing an appropriate key on the touch              In general, the invention can be a major enabling factor in
    Screen overlaying the display 20, to Switch the communi               home automation, the communications module 12 becoming
    cations module 12 from on 66 to standby 65. It would                  a home Server for basic information functions to wireleSS
    also be possible for a time-out means to Switch the com               phones, personal digital assistants (PDAS) etc. The commu
    munications module 12 automatically from on 66 to                50   nications module 12 can also be linked to Security Systems,
     standby 65 when a predetermined time has elapsed without             for example being linked to a CCTV camera to display who
    the presence of a user having been detected, or without the           is at the front door when the doorbell rings. Yet, the essential
    touch Screen being touched. In operation B, the commu                 Simplicity of the communications module 12 is Such that it
    nications module 12 reverts from standby 65 to on by                  can be used as a family organizer, note pad or notice board
    detecting the nearby presence of a user or by receiving a        55   at the hub of the domestic environment.
    touch input from the user as aforesaid. In operations C and              The addition of a barcode reader to the communications
     D, the user also has the option of toggling the communi              module 12 or to the appliance itself gives further application
    cations module between on 66 and off 67 states.                       options. It is envisaged that the reader could be used to
       Exit from the standby state 65 may be effected by sensing          re-order articles that are already within the appliance own
    the proximity of a user and/or a user's touch upon the touch     60   er's home, Such as groceries, clothes, Videos or any other
    Screen. To allow the former possibility, a proximity Sensor           item that has a barcode printed upon it.
    (not shown) is included to detect the presence of a user                A Smartcard reader can be added to the communications
    within close proximity to the communications module 12.               module 12 or to the appliance with which that module 12 is
    The proximity Sensor provides a means for Switching the               asSociated, thus opening up further application options. AS
    communications module 12 from its standby mode 65 to its         65   well as enabling numerous other functions Such as the hotel
    full power-on state 66. By the same token, the sensor in              communications device described above, Smartcard func
    conjunction with a time-out means provides a way to Switch            tionality would allow true private banking. For example, a
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    user can load electronic cash (e-cash) onto his or her e-cash           interface that it offers its users. However, the modular
    card or can spend Such e-cash upon purchases located when               construction reduces the need for product development
    browsing the Web using the communications module 12.                    investment by the appliance manufacturer and So lessens the
    Also, by identifying the user, a Smartcard can be used for              need to grant exclusivity to any one appliance manufacturer.
    Security purposes, or to configure, limit or otherwise define           The grant of Such exclusivity might otherwise be necessary
    the Service offered to the user. For example, the Service               to recoup development costs, to the possible detriment of
    offered can reflect a user's preferences Stored on the Smart            market penetration and hence propagation of the technology.
    card or can be limited in accordance with the user's age or               The technical features of the broadband online connection
    level of Subscription payment.                                          72 are also well known, the main alternatives of cable and
       The Smartcard reader must be positioned in an easily                 xDSL having been outlined above. Basically, cable is pre
    accessible place, and should retain the card during transac             ferred to xDSL for its ease of installation and better TV
    tions to prevent removal of the card before the transaction is          capabilities but, for the purposes of the invention, either is
    complete. The Smartcard reader could of course retain the               much better than a Standard dial-up telephone connection. A
    card after the transaction is complete, until the user is ready         Standard dial-up connection is not capable of Supporting the
    to pick up the card again.                                         15   ideal always-on, always-available characteristics of the
       In microwave oven applications, the microphone, barcode              appliance 1, or the real-time, high quality access to content
    reader or Smartcard reader can be positioned, conveniently,             that users will demand. Alternatives Such as full ISDN,
    on the fixed control and display surface 4 on the front of the          Satellite telephony and T1 are variously expensive to install
    microwave cabinet 2 beside the door 3.                                  and to run, are unsuitable in the domestic context, and do not
       Another hardware option is to give the communications                match the performance of xDSL or, particularly, cable. In
    module 12 a printer driver facility to drive an external                any event, competition between cable and xDSL is increas
    printer. This would be useful for generating coupons relating           ing and this will drive broadband availability upwards.
    to marketing offers advertised on the LCD display 20, and                 As shown in the broadband online connection 72 in FIG.
    of course to keep hard copies of any advertising or other               12, access to the Internet 75 is achieved through an Internet
    material thus displayed. In conjunction with an Internet           25   service provider (ISP) 74 that is connected to the Internet 75
    newspaper Service, the communications module 12 could be                via a backbone 76. The ISP 74 connects to the appliance 1
    programmed to download and print a newspaper ready for                  in turn via a local loop 77 and modem 39. Of course, in
    its owner getting up each morning.                                      practice, the network architecture that connects the appli
       Indeed, when everybody has a communications module                   ance 1 to the Internet 75 via the ISP 74 is very much more
    12 or like facility, there would be no need for a postal service        complex, involving multiple cascading levels of leased
    because everyone could print out e-mail. This Suggests                  bandwidth terminating in network access points that connect
    advantages in adding a Scanner to allow people to write                 to the Internet itself. However, as Such details are well
    letters and then Scan them in to the communications module              known, will vary depending upon the ISP and are not
    for onward transmission. Peripherals Such as a printer and/or           germane to the present invention, they need not be elabo
    Scanner should be external to the communications module            35   rated upon here.
    12 to preserve its compactneSS and, for convenience, can                   Commercially, it is envisaged that Internet access through
    communicate with the module 12 through wireleSS means                   the appliance 1 should be outsourced completely. The physi
    Such as radio or IR.                                                    cal and commercial Structure of typical xDSL networks
      With the widespread adoption of digital cameras, it would             allows for multiple Supplier contracts. Cable networks, on
    be useful to plug in a digital camera's memory Stick (this         40   the other hand, tend to be owned by the cable providers who
    is a Sony Standard for Saving digital pictures) into the                have eXclusivity for particular geographical areas. So, it is
    communications module 12 or the appliance with which the                envisaged that equity partnerships should be Sought with
    module 12 is associated. This allows the user to view digital           cable providers Selected to maximize user acceSS and hence
    pictures on a larger display than the camera allows and Since           potential penetration.
    the communications module 12 is connected to the Internet,         45      The broadband portal 73 provides access to content such
    an appropriate ISP could offer free Web Storage space to                as today's news, and user Services Such as e-mail. The portal
    which the pictures could be uploaded for retrieval and                  73 also embodies agreements with e.g. retailers and financial
    optionally printing whenever required.                                  Service providers, to whose web pages it provides hypertext
      Whilst connection to the Internet is much preferred for the           linkS. Again, portal developments and/or agreements with
    wealth of facilities it allows, the communications module          50   retailers and So on can be outsourced, possibly with the
    need not necessarily be connected to the Internet: it may, for          incentive of equity partnerships to share risk and reward.
    example, be connected only to a domestic broadband System                  The portal 73 suitably carries banner advertising and
    Supplying just TV/radio content. The communications mod                 Section Sponsorship. Banner advertising may be paid for on
    ule could be configured to receive IPPV (impulse pay per                a 'click-through basis proportional to the number of users
    View) transmissions for pay-TV purposes.                           55   who respond to the advertisement by 'clicking through the
      The appliance 1 itself is just one of three elements of a             banner advertisement. This direct customer feedback assists
    communications System that embodies the invention in its                in targeting the advertisements and in pricing performance
    various forms. These three elements of the communications               based advertising. Advertisements can be targeted according
    system are represented in FIG. 12 of the drawings. It will be           to user action within the site (for example, a user may be
    Seen that the other elements are a broadband online connec         60   more likely to click on a banner while Shopping than while
    tion 72 that allows always-on, high Speed access to the                 reading news) and/or according to previous shopping behav
    Internet, and a broadband portal 73 that offers functionality           ior. This ensures the relevance of the advertisement and So
    and Services to ensure the continuing loyalty of intermediate           improves the prospect of a click-through and hence of
    customers in an open access environment.                                generating advertising revenue that depends upon the click
       The appliance 1 has been described technically in detail        65   through.
    above. As a business proposition, much of its Success must                Section Sponsorship can be Structured in various ways,
    naturally flow from the Superior technical facilities and               and has the benefit of a more predictable income Stream than
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    banner advertising. For example, while users watch TV, a                the banking system 91 where verification of the authentica
    frame of advertisements around the TV display area could be             tion data takes place and on validation, the transaction
    Sold on a sponsorship basis. Additionally, as Suggested                 details are processed. The electronic banking facility can be
    above, commercials can fill the display like a Screen Saver             used for payment transaction, ordering of cheques, travellers
    when the user is not watching TV or interacting with the                cheques, bank drafts etc., and for Statement or balance
    portal 73.                                                              requests.
       FIG. 13 is a conceptual block diagram showing the                       Finally, the user services section 76 provides for personal
    functionality of the portal 73. For this purpose, the portal can        Services and for Site-internal functions like a help facility
    be broken down into five main Sections: a targeted banner               and an internal Search engine. Myriad personal Services can
    advertisement 74; content 75; user services 76; finance 77;             run within the user services section 76 of the portal 73.
    and shopping 78. These latter two sections may be thought               Examples are user profiles for personalized news, a shop
    of as coming together under the heading transactions and                ping account for e.g. Shopping and credit card details, a
    So may share many enabling functions.                                   loyalty Scheme or club membership; personal organizer
       A content delivery engine 79 takes feeds from third-party            functions like calendaring or Scheduling, e-mail; a real-time
    content providerS Such as a news agency 80 and a weather           15   messaging Service; and personal home pages.
    forecasting office 81 and, having regard to input from an                  When a user wishes to use the e-mail facility, the appro
    adaptive customer profile database 82, makes available to               priate icon on the touch Screen tool bar is Selected and the
    the content section 75 of the portal 73 whatever content is             core processing unit 21 causes the appropriate information
    deemed appropriate to that customer or user. Of course, in              to be displayed on the display 20. The user can open
    practice, very much more information than news and                      received mail or compose mail messages by entering data
    weather will be of potential interest to the user, examples             via the keypad on the touch Screen or, with Speech recog
    being listings of TV and local entertainment, charts of StockS          nition Software, via the microphone 34 in the communica
    and shares, feature articles, reference WorkS Such as direc             tions module 12. The message can then be transmitted to the
    tories and maps, entertainment Such as games or music/                  desired recipient over the Internet.
    Video Streaming, and interaction/communication content             25      The personal organizer facility allows the user to maintain
    Such as discussion groups, notice boards or real-time chat.             a diary and request reminders for Specific events Such as
       The customer profile database 82 is also used by an                  birthdays, appointments and So on, and can maintain per
    advertising engine 83, which targets the banner advertising             Sonal data in various spreadsheet programs.
    74 with reference to the customer profile and also feeds back              The functionality of the portal 73 can be developed from
    information on the customer's response to that advertising,             Scratch or in partnership with a major existing portal Such as
    So as to update and if necessary adapt the customer profile             Excite (trade mark), which brings the benefit of existing
    database 82.                                                            relationships with retailers and financial Services companies.
       Similar feedback is provided to the customer profile                    Reverting now to the comparison between open and
    database 82 from a commerce engine 84, but this time based              closed Internet access, aspects of the invention Such as the
    upon the customer's actual buying behavior. The commerce           35   aforementioned redirection list could be used to facilitate
    engine 84 deals with requests and quotes to and from the                closed access which enables access to only Selected Sites
    customer via the shopping section 78 of the portal 73,                  Specially adapted to users of the appliance. For example,
    interacting with a product database 85 fed in turn by a                 links in Such Sites would need to be adapted So that they lead
    catalogue database 86 held by a retailer in its front office'.          only to similarly-adapted sites but this could be achieved by
    Interaction also takes place between the commerce engine           40   the redirection list So that redirection takes place locally
    84 and the retailer's back office for ordering 87, fulfillment          rather than requiring wholesale adaptation of the Sites them
    88 and accounting 89 procedures. Of course, the user can                Selves.
    buy in various ways, for example through partner retailers,                Nevertheless, open access is preferred, albeit influenced
    via auctions or in response to classified advertisements.               by enticements to customers to Stay with the appropriate
       A finance engine 90 interacts with the finance section 77       45   Service provider and discouragements for them to leave.
    of the portal 73 to enable the user to view details such as             Enticements to Stay are good functional and aesthetic
    checking the Status of his or her bank account, to perform              design, convenience, automatic personalization, an attrac
    transactions Such as paying bills, and to investigate, apply            tive and simple interface for TV functionality and an excel
    for or purchase new financial products like pensions or                 lent family-oriented portal carrying much of relevance and
    mortgages. The finance engine 90 is connected to the               50   interest. On the other hand, customers may be discouraged
    banking System 91 for this purpose. Although not shown, it              to leave by, for example, the browser opening into a default
    would equally be possible to provide for feedback from the              home page that cannot be changed by the user. It is further
    finance engine 90 to the customer profile database 82, or for           preferred that TV viewing can only be requested from that
    the commerce engine 84 to handle purchases of financial                 home page. Another possibility is that the functionality of
    products instead of the finance engine 90.                         55   the microwave oven, or other appliance with which the
       When a user wishes to use the electronic banking facility            communications module is associated, can only be Selected
    of the finance Section 77, the appropriate icon is Selected on          via that home page. Once Selected, actual control of the TV
    a touch screen toolbar on the display 20 that defines the user          or appliance can then be delegated to other control means
    interface. A message requesting the user to enter authenti              Such as the IR remote control or a keypad image on the LCD
    cation data is displayed and Subsequently, a Series of options     60   display 20 operable by the touch screen overlay.
    relating to the various facilities available to the user is                Of course, the redirection list itself also preserves revenue
    displayed on the display 20. The user then selects the                  Streams while allowing open access, by directing users to
    required option and is requested to enter details relating to           Specific versions of user-Selected web sites where Such
    the transaction. When all the information necessary to                  alternatives exist.
    conduct the transaction has been provided by the user, the         65      Many variations are possible within the inventive con
    authentication transaction details are transmitted over the             cept. For example, most domestic appliances receive oper
    Internet to an appropriate remote management unit within                ating power by means of a mains Supply unit which could
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    also provide a communications channel for access to the                  4. The appliance (1) of claim 1, wherein the primary
    Internet, So as to provide for communication of data to and            function is operable via the communications network (75).
    from the domestic environment.                                           5. The appliance (1) of claim 1, wherein the primary and
       It should also be appreciated that other forms of data input        Secondary functions are operable by a common user inter
    means could readily be incorporated into an appliance                  face.
    embodying the present invention Such as, for example, a                  6. The appliance (1) of claim 1, wherein the remote
    Smart tag reader means for reading data from a Smart tag               control facility is capable of controlling the Secondary
    asSociated with a food product being cooked, defrosted or              function and optionally also part of the primary function of
    Stored in the appliance.                                               the appliance (1).
       The present invention offers particular advantages in that            7. A domestic Oven for use within a home, comprising:
    the domestic appliance concerned is generally incorporated
    into a specific domestic environment, i.e., the kitchen, and in          a) a housing;
    that the functionality of the domestic appliance is extended.            b) a communications module within the housing for
    Also, the invention provides apparatus that is much more                       connecting to a communication channel extending out
    user friendly than current apparatus allowing for Internet        15
                                                                                   Side the home;
    access and it can readily provide a user interface that allows
    for ease of reading and therefore interaction within the                 c) a panel mounted on the housing for receiving input
    environment in which the appliance is commonly used.                           from a user, Said input including
      What is claimed is:                                                          i) control inputs which activate and de-activate the
      1. A domestic food-processing appliance (1) having a                           oven; and
    primary domestic function but being adapted for the Sec                     ii) data for delivery to the communication channel;
    ondary function of interaction with a communications net                 d) a remote control, Separate from the housing, which
    work (75), the appliance (1) comprising a user interface                    i) delivers data to the communications module, for
    operable by direct contact with the appliance (1) and a                          transmission on the communication channel;
    remote control facility operable by a remote control handset,     25
                                                                                   ii) is incapable of activating the oven; and
    wherein activating or deactivating the primary function of                     iii) is incapable of de-activating the oven.
    the appliance (1) is reserved for the user interface and the             8. Oven according to claim 7, and further comprising:
    remote control facility is incapable of activating or deacti
    Vating the primary function.                                             e) a door which provides an access portal to the oven; and
      2. The appliance (1) of claim 1, wherein the primary                   f) a display, attached to the door, having a diagonal
    function is cooking, defrosting or freezing.                                   measurement of at least 12.1 inches.
      3. The appliance (1) of claim 2 and being a microwave
    oven (1) whose primary function is cooking or defrosting.
